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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


DISPLAY TECHNOLOGIES, LLC,

               Plaintiff,                                    C.A. No. 2:23-cv-00589-JRG-RSP

       v.                                                    JURY TRIAL DEMANDED

DEXCOM, INC.,

               Defendant.

                                   NOTICE OF APPEARANCE

        Please take notice that the undersigned attorney is admitted to this Court and hereby enters

his appearance of counsel on behalf of Defendant Dexcom, Inc. in this matter. Counsel consents

to electronic service of all papers in this matter.




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Dated: February 16, 2024                  FISH & RICHARDSON P.C.


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                                                COUNSEL FOR DEFENDANT
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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing

 document has been served on February 16, 2024, to all counsel of record who are deemed to have

 consented to electronic service via the Court’s CM/ECF system.

                                                           /s/ Alexander Martin
                                                           Alexander Martin




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